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A0245B                 Judgment in a Criminal Case - DISTRICT OF OREGON CUSTOMIZED (Rev. 9/2017)
                       Sheet l


                                              UNITED STATES DISTRICT COURT
                                                   DISTRICT OF OREGON


UNITED STATES OF AMERICA                                                     JUDGMENT IN A CRIMINAL CASE
          Plaintiff,                                                         Case No.: 3:16-CR-00051-9-BR
v.                                                                           USM Number: 79454-065
JASON PATRICK                                                                Andrew M. Kohlmetz,
                                                                             Defendant's Attorney
          Defendant.
                                                                             Craig J. Gabriel,
                                                                             Assistant U.S. Attorney
THE DEFENDANT:
 ~was    found guilty on count(s) 1 of the Superseding Indictment after a plea of not guilty.
The defendant is adjudicated guilty of the following offense(s):
                 Title, Section & Nature of Offense                                Date Offense Concluded                Count Number
18:372 CONSPIRACY TO IMPEDE OFFICERS OF THE                                  Beginning on or about 11/5/2015 and              ls
UNITED STATES                                                                     continuing until 2/12/2016
16:460k-3, 50 C.F.R. 26.21(a) and 28.31 TRESPASSING                           Beginning on or about 1/2/206 and
                                                                                                                             lss
                                                                                 continuing until 2/11/2016
16:460k-3, 50 C.F.R. 27.65 and28.31-TAMPERING WITH
                                                                                                                             2ss
VEHICLES AND EQUIPMENT                                                               On or about 1/27/2016
16:460k-3, 50 C.F.R. 27.61 and 28.31 - DESTRUCTION AND                                                                       6ss
                                                                                     On or about 1/11/2016
REMOVAL OF PROPERTY



The defendant is sentenced as provided in pages 2 through 7 of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.
~The    defendant has been found not guilty on count(s) 2 of the Superseding Indictment and is discharged as to such count(s).
DCount(s) is dismissed on the motion of the United States.
~The defendant shall pay a special assessment in the amount of $100.00 for Count(s) ls, and $10 for each of counts lss, 2ss, and 6ss
of the information payable immediately to the Clerk of the U.S. District Court. (See also the Criminal Monetary Penalties Sheet.)
IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution, the defendant shall notify the court and United States Attorney of any material change in the defendant's
economic circumstances.
                                                                             February 15, 2018
                                                                             Dat~ of Sentence.


                                                                             Signatme of   Judioi~
                                                                             Anna J. Brown, U.S. Senior District Judge
                                                                             Name and Title of Judicial Officer
                                                                             February   I~2018
                                                                             Date
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AO 245B         Judgment in a Criminal Case - DISTRICT OF OREGON CUSTOMIZED (Rev. 9/2017)
                Sheet 2 - Imprisonment
DEFENDANT: JASON PATRICK                                                                                          Judgment-Page 2 of7
CASE NUMBER: 3:16-CR-00051-9-BR


                                                        IMPRISONMENT
The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a term of21 months as to
count one of the superseding indictment. As to Counts 1, 2, and 6 of the Misdemeanor Information, the Defendant is committed to the
Bureau of Prisons for confinement for a period of 30 days on each count, with the sentences in each count to be served concurrently
with each other and concurrently with the sentence imposed in Count 1 of the Superseding Indictment.

~The   court makes the following recommendations to the Bureau of Prisons:

          1.         That the defendant be incarcerated in Sheridan

~   The defendant is remanded to the custody of the United States Marshal.
D The defendant shall surrender to the custody of the United States Marshal for this district:
          D at           on - - - - - - -
          0 as notified by the United States Marshal.
D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          D before            on - - - - - - -
          D as notified by the United States Marshal.
          D as notified by the Probation or Pretrial Services Office.

The Bureau of Prisons will determine the amount of prior custody that may be credited towards the service of sentence as authorized
by Title 18 USC §3585(b) and the policies of the Bureau of Prisons.


                                                              RETURN
I have executed this judgment as follows:




Defendant delivered on _ _ _ _ _ _ _ _ _ _ _ _ _ _ t o - - - - - - - - - - - - - - - - - - - - - -

at _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                                  UNITED STATES MARSHAL

                                                                           By:
                                                                                  DEPUTY UNITED STATES MARSHAL
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AO 245B        Judgment in a Criminal Case - DISTRICT OF OREGON CUSTOMIZED (Rev. 9/2017)
               Sheet 3 - Supervised Release
DEFENDANT: JASONPATRICK                                                                                          Judgment-Page 3 of7
CASENUMBER: 3:16-CR-00051-9-BR


                                                  SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of 3 years. Upon release from confinement
in Counts 1, 2, and 6 of the Misdemeanor information, the defendant shall serve a 3-year term of supervised release subject to
mandatory conditions of supervision, the standard conditions of supervision adopted by this Court, and the same special conditions
ordered in Count 1 of the Superseding Indictment. The Court recommends that Defendant's Supervised Release be transferred to the
United States District Court in the district where he is released.

                                               MANDATORY CONDITIONS
  1.      You must not commit another federal, state or local crime.
  2.      You must not unlawfully possess a controlled substance.
  3.      You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of
          release from imprisonment and at least two periodic drug tests thereafter, as determined by the court.
                DThe above drug testing condition is suspended, based on the court's determination that you pose a low risk of future
                substance abuse. (check if applicable)
  4.      D You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
          restitution. (check if applicable)
  5.      ~You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
  6.      D You must comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et
          seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which you
          reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
  7.      D You must participate in an approved program for domestic violence. (check if applicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the
attached page.
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AO 245B         Judgment in a Criminal Case - DISTRICT OF OREGON CUSTOMIZED (Rev. 9/2017)
                Sheet 3A - Supervised Release
DEFENDANT: JASON PATRICK                                                                                              Judgment-Page 4 of7
CASE NUMBER: 3:16-CR-00051-9-BR


                                    STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are
imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed
by probation officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

  1.      You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of
          your release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a
          different time frame.
  2.      After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how
          and when you must report to the probation officer, and you must report to the probation officer as instructed.
  3.      You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission
          from the court or the probation officer.
  4.      You must answer truthfully the questions asked by your probation officer.
  5.      You must live at a place approved by the probation officer. If you plan to change where you live or anything about your
          living arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the
          change. If notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify the
          probation officer within 72 hours of becoming aware of a change or expected change.
  6.      You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation
          officer to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
  7.      You must work full time (at least 3 0 hours per week) at a lawful type of employment, unless the probation officer excuses
          you from doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation
          officer excuses you from doing so. If you plan to change where you work or anything about your work (such as your position
          or your job responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the
          probation officer at least 10 days in advance is not possible due to unanticipated circumstances, you must notify the probation
          officer within 72 hours of becoming aware ofa change or expected change.
  8.      You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has
          been convicted of a felony, you must not knowingly communicate or interact with that person without first getting the
          permission of the probation officer.
  9.      If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
 10.      You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything
          that was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as
          nunchakus or tasers).
 11.      You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
          without first getting the permission of the court.
 12.      If the probation officer determines that you pose a risk to another person (including an organization), the probation officer
          may require you to notify the person about the risk and you must comply with that instruction. The probation officer may
          contact the person and confirm that you have notified the person about the risk.
 13.      You must follow the instructions of the probation officer related to the conditions of supervision.

U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview ofProbation and Supervised
Release Conditions, available at: www.uscourts.gov.

Defendant's S i g n a t u r e - - - - - - - - - - - - - - - - - - - - -                      Date _ _ _ _ _ _ _ _ _ __
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AO 245B        Judgment in a Criminal Case - DISTRICT OF OREGON CUSTOMIZED (Rev. 9/2017)
               Sheet 3 D - Supervised Release
DEFENDANT: JASON PATRICK                                                                                            Judgment-Page 5 of7
CASENUMBER: 3:16-CR-00051-9-BR


                                      SPECIAL CONDITIONS OF SUPERVISION
  1.      You must submit your person, property, house, residence, vehicle, papers, or office to a search conducted by a United States
          probation officer. Failure to submit to a search may be grounds for revocation of release. You must warn any other occupants
          that the premises may be subject to searches pursuant to this condition. The probation officer may conduct a search under this
          condition only when reasonable suspicion exists that you have violated a condition of supervision and that the areas to be
          searched contain evidence of this violation. Any search must be conducted at a reasonable time and in a reasonable manner.

  2.      You must submit to substance abuse testing to determine if you have used a prohibited substance. Such testing may include
          up to twelve (12) urinalysis tests per month. You must not attempt to obstruct or tamper with the testing methods.


  3.      You must not knowingly purchase, possess, distribute, administer, or otherwise use any psychoactive substances (e.g.,
          synthetic marijuana, bath salts, etc.) that impair a person's physical or mental functioning, whether or not intended for human
          consumption, except with the prior approval of the probation officer.

  4.      You must not go to, or remain at any place where you know controlled substances are illegally sold, used, distributed, or
          administered without first obtaining the permission of the probation officer. Except as authorized by court order, you must
          not possess, use or sell marijuana or any marijuana derivative (including THC) in any form (including edibles) or for any
          purpose (including medical purposes). Without the prior permission of the probation officer, you must not enter any location
          where marijuana or marijuana derivatives are dispensed, sold, packaged, or manufactured.

  5.      If the judgment imposes a financial penalty, including any fine or restitution, you must pay the financial penalty in
          accordance with the Schedule of Payments sheet of this judgment. You must also notify the court of any changes in economic
          circumstances that might affect your ability to pay this financial penalty.

  6.      You must provide the probation officer with access to any requested financial information and authorize the release of any
          financial information. The probation office may share financial information with the U.S. Attorney's Office.

  7.      You must not incur new credit charges, or open additional lines of credit without the approval of the probation officer.

  8.      You must not make application for any loan, or enter into any residential or business lease agreement, without the prior
          approval of the probation officer.

  9.      You must not communicate, or otherwise interact, with Co-Defendants, either directly or through someone else, without first
          obtaining the permission of the probation officer.

 10.      You must not occupy, reside on, or camp in any federal land without the prior approval of the probation officer.

 11.      You must not enter onto any federal lands managed by the U.S. Bureau of Land Management, the U.S. Fish and Wildlife
          Service, the Nation Park Service, or the U.S. Forest Service without the prior approval of the probation officer.
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AO 245B          Judgment in a Criminal Case - DISTRICT OF OREGON CUSTOMIZED (Rev. 9/2017)
                 Sheet 5 - Criminal Monetary Penalties
DEFENDANT: JASON PATRICK                                                                                            Judgment-Page 6 of7
CASE NUMBER: 3: 16-CR-00051-9-BR


                                            CRIMINAL MONETARY PENALTIES
The defendant shall pay the following total criminal monetary penalties in accordance with the Schedule of Payments set forth in this
judgment.

                         Assessment                                           Restitution                TOTAL
                    (as noted on Sheet 1)

TOTALS                      $130.00                                           $10,000.00               $10,130.00


DThe determination ofrestitution is deferred until _________ . An Amended Judgment in a Criminal Case will be entered
after such determination.

~The   defendant shall make restitution (including community restitution) to the following payees in the amount listed below.

If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise
in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all non-federal victims must be
paid in full prior to the United States receiving payment.

                                                                          Amount of Restitution
          Name of Payee                                                        Ordered

Friends of the Malheur Refuge                                             $10,000.00
Attn: Jerry Moore, Treasurer
P.O. Box 513
Bend, OR 97709




Dlf applicable, restitution amount order pursuant to plea agreement: $_ _ __

DThe defendant must pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on the Schedule ofPayments
may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

DThe court determined that the defendant does not have the ability to pay interest and it is ordered that

           ~The   interest is waived for restitution.

           DThe interest requirement for the D fine and/or D restitution is modified as follows:




                   Any payment shall be divided proportionately among the payees named unless otherwise specified.
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AO 245B         Judgment in a Criminal Case - DISTRICT OF OREGON CUSTOMIZED (Rev. 9/2017)
                Sheet 6 - Schedule of Payments
DEFENDANT: JASON PATRICK                                                                                                Judgment-Page 7 of7
CASE NUMBER: 3:16-CR-00051-9-BR


                                                 SCHEDULE OF PAYMENTS
Having assessed the defendant's ability to pay, payment 1 of the total criminal monetary penalties shall be as follows:

          A.   ~Lump     sum payment of$10,130.00 due immediately, balance due
                    Dnot later than             , or
                    Din accordance with D C, DD, or DE below; or
          B.   DPayment to begin immediately (may be combined with D C, D D, or D E below); or
          C.   Dlfthere is any unpaid balance at the time of defendant's release from custody, it shall be paid in monthly installments
               of not less than $        , or not less than 10% of the defendant's monthly gross earnings, whichever is greater, until
               paid in full to commence immediately upon release from imprisonment.
          D.   D Any balance at the imposition of this sentence shall be paid in monthly installments of not less than$, or not less than
               10% of the defendant's monthly gross earnings, whichever is greater, until paid in full to commence immediately.
          E.   D Special instructions regarding the payment of criminal monetary penalties:


Unless the Court has expressly ordered otherwise in the special instructions above, if this judgment imposes a period of imprisonment,
payment of criminal monetary penalties, including restitution, shall be due during the period of imprisonment as follows: (1) 50% of
wages earned ifthe defendant is participating in a prison industries program; (2) $25 per quarter ifthe defendant is not working in a
prison industries program.

It is ordered that resources received from any source, including inheritance, settlement, or any other judgment, shall be applied to any
restitution or fine still owed, pursuant to 18 USC§ 3664(n).

All criminal monetary penalties, including restitution, except those payments made through the Federal Bureau of Prisons' Inmate
Financial Responsibility Program, are made to the Clerk of Court at the address below, unless otherwise directed by the Court, the
Probation Officer, or the United States Attorney.

                                     Clerk of Court
                                     U.S. District Court - Oregon
                                     1000 S.W. 3rd Ave., Ste. 740
                                     Portland, OR 97204


The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

D Joint and Several

Case Number
Defendant and Co-Defendant
Names                                                                                                        Corresponding Payee, if
(including Defendant number)        Total Amount                        Joint and Several Amount             appropriate



D The defendant shall pay the cost of prosecution.

DThe defendant shall pay the following court costs:

DThe defendant shall forfeit the defendant's interest in the following property to the United States:



1
  Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
